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17                                             Attorneys for Defendant Archer Aviation Inc.

18
                                UNITED STATES DISTRICT COURT
19
                               NORTHERN DISTRICT OF CALIFORNIA
20
                                   SAN FRANCISCO DIVISION
21
     WISK AERO LLC,                            Case No. 3:21-cv-02450-WHO
22
                  Plaintiff,                   JOINT STIPULATION AND [PROPOSED]
23
                                               ORDER TO MODIFY CASE SCHEDULE
24         vs.
                                               [Declaration of Yury Kapgan filed
25 ARCHER AVIATION INC.,                       concurrently]

26                Defendant.
27

28

                                                                       Case No. 3:21-cv-02450-WHO
                                                       JOINT STIPULATION TO MODIFY CASE SCHEDULE
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 1           Pursuant to Civil Local Rules 6-2(a) and 7-12, Plaintiff Wisk Aero LLC (“Wisk”) and

 2 Defendant Archer Aviation Inc. (“Archer,” and together with Wisk, the “Parties”), by and through

 3 their undersigned counsel, hereby stipulate and agree as follows:

 4           WHEREAS, following the July 13, 2022 Case Management Conference, at which the Court

 5 indicated its willingness to adjust the current scheduling order to begin trial at a date after the

 6 currently scheduled April 17, 2023 trial date (July 13, 2022 Hrg. Tr. at 9:10–15; 10:14–17), the

 7 Parties submitted a Joint Stipulation to Modify Case Schedule proposing a revised schedule setting

 8 trial for July 17, 2023 (Dkt. 301);

 9           WHEREAS, the Court subsequently informed the Parties that it was not available to begin

10 trial on July 17, 2023, but indicated its availability to begin trial on August 14, 2023;

11           WHEREAS, the Parties have worked cooperatively and in good faith to negotiate a

12 proposed schedule culminating in trial beginning on August 14, 2023;

13           WHEREAS, the only previous time modifications relevant to this issue are contained in the

14 scheduling orders issued by the Court (see Civil L.R. 6-2(a)(2));

15           WHEREAS, the requested case schedule comports with this Court’s availability (see Civil

16 L.R. 6-2(a)(3));

17           WHEREAS, this stipulation is supported by the Declaration of Yury Kapgan, as required

18 by Civil Local Rule 6-2(a);

19           IT IS HEREBY STIPULATED, by and between Wisk and Archer, that subject to the

20 Court’s approval, the Court modify the pre-trial and trial schedule as set forth in the table below.

21 The Parties agree that each party shall be entitled to take up to 130 further hours of deposition

22 testimony, and that each party may use as much of that time for testimony under Federal Rule of

23 Civil Procedure 30(b)(6) as reasonably necessary.

24       #                 Event                       Current Date               Proposed Date
        1    Archer Narrows Patent Prior Art           July 26, 2022           Tuesday, July 26, 2022
25           References to 40
26      2    Fact Discovery to be Completed,          August 24, 2022         Wednesday, August 31,
             Except Deposition Discovery                                             2022
27           (and any Supplementation of
             Discovery Responses Pursuant to
28           Fed. R. Civ. P. 26(e))

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 1      #              Event                        Current Date                 Proposed Date
       3    Case Management Conference             October 25, 2022           Tuesday, October 25,
 2                                                     at 2 p.m.                 2022 at 2 p.m.
 3     4    Deposition Discovery to be             August 24, 2022            Monday, November 7,
            Completed                                                                  2022
 4     5    Wisk Narrows Trade Secrets to          September 1, 2022         Tuesday, November 15,
            10 and its Patent Claims to 8                                              2022
 5     6    Archer Narrows Patent Prior Art        September 8, 2022         Tuesday, November 22,
            References to 20                                                           2022
 6
       7    Opening Expert Reports Due            September 15, 2022         Wednesday, December 7,
 7                                                                                     2022
       8    Rebuttal Expert Reports Due            October 12, 2022          Friday, January 6, 2023
 8     9    Expert Discovery to be                 November 2, 2022          Wednesday, January 25,
            Completed                                                                  2023
 9     10   Parties File Motions for                       None set           Monday, February 13,
10          Summary Judgment and/or                                                    2023
            Daubert Motions
11     11   Parties File Oppositions to                    None set          Monday, March 13, 2023
            Motions for Summary Judgment
12          and/or Daubert Motions
       12   Parties File Replies in Support of             None set           Monday, April 3, 2023
13
            Motions for Summary Judgment
14          and/or Daubert Motions
       13   Hearing on Motions for                 January 11, 2023            Wednesday, April 26,
15          Summary Judgment and/or                                              2023 at 2 p.m.
            Daubert Motions
16     14   Pretrial Conference                     March 13, 2023           Monday, June 26, 2023
17                                                     at 2 p.m.                  at 2:00 p.m.
       15 Trial                                     April 17, 2023           Monday, August 14, 2023
18                                                   at 8:30 a.m.                 at 8:30 a.m.

19          IT IS SO STIPULATED.

20                                        Respectfully submitted,

21 Dated: July 22, 2022                   QUINN EMANUEL URQUHART & SULLIVAN, LLP

22
                                          By:         /s/ Yury Kapgan_________________________
23                                                                  Yury Kapgan
24                                                          Attorneys for Plaintiff Wisk Aero LLC

25                                        GIBSON DUNN & CRUTCHER LLP
26

27                                        By:         /s/ Wayne Barsky________________________
                                                                   Wayne Barsky
28                                                         Attorneys for Defendant Archer Aviation Inc.

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 1 PURSUANT TO STIPULATION, AND GOOD CAUSE APPEARING TO EXIST, IT IS SO
   ORDERED.
 2

 3   Dated: __________________, 2022
 4

 5                                        ______________________________________
 6                                               Honorable William H. Orrick
                                                 United States District Judge
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                                                  JOINT STIPULATION TO MODIFY CASE SCHEDULE
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 1                          Attestation Pursuant to Civil Local Rule 5-1(h)(3)

 2         I, Yury Kapgan, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury under the laws of the United States

 4 of America that the foregoing is true and correct.

 5

 6 Dated: July 22, 2022                  QUINN EMANUEL URQUHART & SULLIVAN, LLP

 7
                                         By:             /s/ Yury Kapgan_________________________
 8
                                                                       Yury Kapgan
 9                                                            Attorneys for Plaintiff Wisk Aero LLC

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                                                                     JOINT STIPULATION TO MODIFY CASE SCHEDULE
